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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 22-0313V


 SUSAN DONNEWALD, as                                         Chief Special Master Corcoran
 representative for DWIGHT D.
 DONNEWALD, JR., Deceased,                                   Filed: February 20, 2024

                         Petitioner,
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Patricia L. Hall, Williams McCarthy, LLC, Rockford, IL, for Petitioner.

Mary Eileen Holmes, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION 1

        On March 22, 2022, Susan Donnewald, on behalf of Dwight D. Donnewald, Jr.,
filed a petition for compensation under the National Vaccine Injury Compensation
Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine Act”). Petitioner alleges that Mr.
Donnewald suffered from Guillain-Barre Syndrome (“GBS”) following an influenza
vaccination he received on January 11, 2020. Petition at 1; Stipulation, filed at February
20, 2024, ¶¶ 2, 4. Petitioner further alleges that Mr. Donnewald died on April 8, 2020 as
a result of his vaccine-related injury. Petition at 1; Stipulation at ¶ 4. “Respondent denies
that “the flu vaccine caused Decedent to suffer from GBS, any other injury, or caused his
death.” Stipulation at ¶ 6.

       Nevertheless, on February 20, 2024, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.
1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $95,000.00 in the form of a check payable to Petitioner, as
        legal representative of the Estate of Dwight D. Donnewald, Jr. Stipulation at ¶
        8. This amount represents compensation for all items of damages that would be
        available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                  )
SUSAN DONNEWALD, as                               )
Representative for DWIGHT D.                      )
DONNEWALD, JR., Deceased,                         )
                                                  )     No. 22-313V
               Petitioner,                        )     Chief Special Master Corcoran
                                                  )     ECF
v.                                                )
                                                  )
SECRETARY OF HEALTH AND HUMAN                     )
SERVICES,                                         )
                                                  )
               Respondent.                        )
                                                  )

                                         STIPULATION

       The parties hereby stipulate to the following matters:

       1. Susan Donnewald, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the “Vaccine

Program”) on behalf of her deceased husband, Dwight D. Donnewald, Jr. (decedent). The

petition seeks compensation for injuries allegedly related to decedent’s receipt of the influenza

(“flu”) vaccine, which vaccine is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R.

§ 100.3 (a).

       2. Decedent received his flu vaccination on October 9, 2019.

       3. The vaccination was administered within the United States.

       4. Petitioner alleges that decedent suffered from Guillain Barre Syndrome (“GBS”) as a

result of receiving the flu vaccine. Decedent passed away on April 8, 2020. Petitioner further

alleges that decedent’s death was the sequela of his alleged vaccine-related injury.

       5. Petitioner represents that there has been no prior award or settlement of a civil action
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for damages on decedent’s behalf as a result of his condition or death.

        6. Respondent denies that the flu vaccine caused decedent to suffer from GBS, any other

injury, or caused his death.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $95,000.00 in the form of a check payable to petitioner, as legal
        representative of the estate of Dwight D. Donnewald, Jr. This amount represents
        compensation for all damages that would be available under 42 U.S.C. § 300aa-
        15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys’ fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C. §

1396 et seq.)), or by entities that provide health services on a pre-paid basis.


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        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. Petitioner represents that petitioner presently is, or within 90 days of the date of

judgment will become, duly authorized to serve as the legal representative of decedent’s estate

under the laws of the State of Illinois. No payments pursuant to this Stipulation shall be made

until petitioner provides the Secretary with documentation establishing petitioner’s appointment

as legal representative of decedent’s estate. If petitioner is not authorized by a court of

competent jurisdiction to serve as legal representative of decedent’s estate at the time a payment

pursuant to this Stipulation is to be made, any such payment shall be paid to the party or parties

appointed by a court of competent jurisdiction to serve as legal representative of decedent’s

estate upon submission of written documentation of such appointment to the Secretary.

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and as representative of decedent’s estate, and on her own behalf and on

behalf of decedent’s heirs, executors, administrators, successors or assigns, does forever

irrevocably and unconditionally release, acquit and discharge the United States and the Secretary

of Health and Human Services from any and all actions or causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the Court of Federal Claims, under the National Vaccine Injury Compensation Program, 42

U.S.C. § 300 aa-10 et seq., on account of, or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of decedent resulting from, or

alleged to have resulted from the flu vaccination administered on October 9, 2019, as alleged by



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petitioner in a petition for vaccine compensation filed on or about March 22, 2022, in the United

States Court of Federal Claims as petition No. 22-313V.

       14. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

       15. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       16. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused decedent to suffer from

GBS, or any other injury or condition, or caused his death.

       17. All rights and obligations of petitioner hereunder in petitioner’s capacity as

representative of decedent’s estate shall apply equally to petitioner’s heirs, executors,

administrators, successors, and/or assigns.

                                     END OF STIPULATION

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Respectfully submitted,

 PETITIONER:


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 susAN DONNEWALD

 ATTORNEY OF RECORD FOR                                      AUTHORIZED REPRESENTATIVE
 PETIT ■ ....,......                                         OF THE ATTORNEY GENERAL:


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                                                              HEATHER L. PEAMAN
  ATRI       L. HALL
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 AUTHORIZED REPRESENTATIVE                                   ATTORNEY OF RECORD FOR
 OF THE SECRETARY OF HEALTH                                  RESPONDENT:
 AND HUMAN SERVICES:
 George R. Grimes - oig1ta11ys.;gnedbyGeorgeR.
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 CDR GEORGE REED GRIMES, MD, MPH                                      . H LMES
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 Dated:     3 Id O f cdO~"L-\




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